Case 2:14-cv-00142-JMS-DKL Document 80 Filed 08/30/16 Page 1 of 29 PageID #: 703



                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF INDIANA
                                 TERRE HAUTE DIVISION

     YAHYA (JOHN) LINDH,                             )
                                                     )
                               Plaintiff,            )
                                                     )
                       vs.                           )     No. 2:14-cv-00142-JMS-DKL
                                                     )
     WARDEN, FEDERAL CORRECTIONAL                    )
     INSTITUTION, TERRE HAUTE, INDIANA,              )
                                                     )
                               Defendant.            )

              ORDER ON CROSS-MOTIONS FOR SUMMARY JUDGMENT

        Presently pending before the Court are cross-motions for summary judgment filed by

 Plaintiff Yahya (John) Lindh and Defendant Warden, Federal Correctional Institution, Terre

 Haute, Indiana (the “Warden”). [Filing No. 56; Filing No. 68.] In the operative complaint, Mr.

 Lindh challenges the Warden’s policy that as an inmate in the Communications Management

 Housing Unit of the Terre Haute Federal Correctional Institution, he must undergo a visual strip

 search of all body surfaces and body cavities before a non-contact visit where he is located in a

 separate room from his visitors. [Filing No. 42.] He argues that this policy violates his rights

 under the Religious Freedom Restoration Act (“RFRA”) and is unreasonable in violation of the

 Fourth Amendment to the United States Constitution. 1 [Filing No. 42 at 6.] For the reasons that

 follow, the Court grants summary judgment in favor of the Warden on Mr. Lindh’s Fourth

 Amendment claim and grants summary judgment in favor of Mr. Lindh on his RFRA claim.




 1
   Because Mr. Lindh concedes that his Fourth Amendment challenge fails under precedent that
 binds this Court, the Court grants summary judgment in favor of the Warden on Mr. Lindh’s Fourth
 Amendment claim. [Filing No. 42 at 6 (citing King v. McCarty, 781 F.3d 889 (7th Cir. 2015);
 Filing No. 57 at 19-21 (same).]
Case 2:14-cv-00142-JMS-DKL Document 80 Filed 08/30/16 Page 2 of 29 PageID #: 704



                                                  I.
                                      STANDARD OF REVIEW

        A motion for summary judgment asks the Court to find that a trial is unnecessary because

 there is no genuine dispute as to any material fact and, instead, the movant is entitled to judgment

 as a matter of law. See Fed. R. Civ. P. 56(a). As the current version of Rule 56 makes clear,

 whether a party asserts that a fact is undisputed or genuinely disputed, the party must support the

 asserted fact by citing to particular parts of the record, including depositions, documents, or

 affidavits. Fed. R. Civ. P. 56(c)(1)(A). A party can also support a fact by showing that the

 materials cited do not establish the absence or presence of a genuine dispute or that the adverse

 party cannot produce admissible evidence to support the fact.        Fed. R. Civ. P. 56(c)(1)(B).

 Affidavits or declarations must be made on personal knowledge, set out facts that would be

 admissible in evidence, and show that the affiant is competent to testify on matters stated. Fed. R.

 Civ. P. 56(c)(4). Failure to properly support a fact in opposition to a movant’s factual assertion

 can result in the movant’s fact being considered undisputed, and potentially in the grant of

 summary judgment. Fed. R. Civ. P. 56(e).

        In deciding a motion for summary judgment, the Court need only consider disputed facts

 that are material to the decision. A disputed fact is material if it might affect the outcome of the

 suit under the governing law. Hampton v. Ford Motor Co., 561 F.3d 709, 713 (7th Cir. 2009). In

 other words, while there may be facts that are in dispute, summary judgment is appropriate if those

 facts are not outcome determinative. Harper v. Vigilant Ins. Co., 433 F.3d 521, 525 (7th Cir.

 2005). Fact disputes that are irrelevant to the legal question will not be considered. Anderson v.

 Liberty Lobby, Inc., 477 U.S. 242, 248 (1986).

        On summary judgment, a party must show the Court what evidence it has that would

 convince a trier of fact to accept its version of the events. Johnson v. Cambridge Indus., 325 F.3d
                                                  2
Case 2:14-cv-00142-JMS-DKL Document 80 Filed 08/30/16 Page 3 of 29 PageID #: 705



 892, 901 (7th Cir. 2003). The moving party is entitled to summary judgment if no reasonable fact-

 finder could return a verdict for the non-moving party. Nelson v. Miller, 570 F.3d 868, 875 (7th

 Cir. 2009). The Court views the record in the light most favorable to the non-moving party and

 draws all reasonable inferences in that party’s favor. Darst v. Interstate Brands Corp., 512 F.3d

 903, 907 (7th Cir. 2008). It cannot weigh evidence or make credibility determinations on summary

 judgment because those tasks are left to the fact-finder. O’Leary v. Accretive Health, Inc., 657

 F.3d 625, 630 (7th Cir. 2011). The Court need only consider the cited materials, Fed. R. Civ. P.

 56(c)(3), and the Seventh Circuit Court of Appeals has “repeatedly assured the district courts that

 they are not required to scour every inch of the record for evidence that is potentially relevant to

 the summary judgment motion before them,” Johnson, 325 F.3d at 898. Any doubt as to the

 existence of a genuine issue for trial is resolved against the moving party. Ponsetti v. GE Pension

 Plan, 614 F.3d 684, 691 (7th Cir. 2010).

        “The existence of cross-motions for summary judgment does not, however, imply that there

 are no genuine issues of material fact.” R.J. Corman Derailment Servs., LLC v. Int’l Union of

 Operating Engineers, 335 F.3d 643, 647 (7th Cir. 2003). Specifically, “[p]arties have different

 burdens of proof with respect to particular facts; different legal theories will have an effect on

 which facts are material; and the process of taking the facts in the light most favorable to the non-

 movant, first for one side and then for the other, may highlight the point that neither side has

 enough to prevail without a trial.” Id. at 648. Put another way, cross-motions for summary

 judgment do not waive the right to a trial and, instead, are treated separately. McKinney v.

 Cadleway Properties, Inc., 548 F.3d 496, 504 (7th Cir. 2008).




                                                  3
Case 2:14-cv-00142-JMS-DKL Document 80 Filed 08/30/16 Page 4 of 29 PageID #: 706



                                               II.
                                      RELEVANT B ACKGROUND

        The parties do not dispute the vast majority of material facts at issue in this litigation.

 [Filing No. 57 at 2-11; Filing No. 70 at 2-4.] Thus, the following facts are undisputed, unless

 otherwise noted.

        A. The CMU

        A Communications Management Housing Unit (“CMU”) “is a general population housing

 unit where inmates ordinarily reside, eat, and participate in all educational, recreational, religious,

 visiting, unit management, and work programming, within the confines of the CMU.” 28 C.F.R.

 § 540.200(b); [see also Filing No. 42 at 3; Filing No. 47 at 2]. “The purpose of CMUs is to provide

 an inmate housing unit environment that enables staff to more effectively monitor communication

 between inmates in CMUs and persons in the community.” 28 C.F.R. § 540.200(c). “The ability

 to monitor such communication is necessary to ensure the safety, security, and orderly operation

 of correctional facilities, and protection of the public.” 28 C.F.R. § 540.200(c).

        The CMU located in Terre Haute opened in 2006.2 [Filing No. 42 at 2-3; Filing No. 47 at

 2.] It contains 56 cells that can each house two inmates. [Filing No. 42 at 3; Filing No. 47 at 2;

 Filing No. 56-1 at 4.] As of May 2015, the CMU had 47 total inmates, all of whom were male.

 Filing No. 56-1 at 4.] The CMU is not a special housing unit, although it does contain six cells

 reserved for special housing. [Filing No. 42 at 3; Filing No. 47 at 2; Filing No. 56-1 at 4; Filing

 No. 56-1 at 8.]




 2
  There is another CMU located in Marion, Illinois, and its inmates are also subject to visual strip
 searches before non-contact visits. [Filing No. 56-1 at 10.] All references to the CMU from this
 point forward refer to the CMU in Terre Haute, unless otherwise specified.
                                                 4
Case 2:14-cv-00142-JMS-DKL Document 80 Filed 08/30/16 Page 5 of 29 PageID #: 707



        Aside from attorney visits, law enforcement interviews, or other extraordinary

 circumstances, visits at the CMU are “non-contact with no physical contact possible between

 visitors and prisoners.” [Filing No. 42 at 3; Filing No. 47 at 2.] These visits are also referred to

 as “social visits,” and they take place on Saturday, Sunday, or Monday, unless authorized in

 advance for another day. [Filing No. 56-1 at 4.] An inmate may have up to two non-contact visits

 per month for four hours. [Filing No. 56-1 at 4.] Only one non-contact visit may occur at a time.

 [Filing No. 56-1 at 5.]

        Non-contact visits occur in two rooms separated from each other by a plexiglass window

 and separated from the regular access area of the CMU by a locked door. 3 [Filing No. 42 at 3;

 Filing No. 47 at 2.] The visits take place through the plexiglass window with the parties conversing

 by phone. [Filing No. 42 at 3; Filing No. 47 at 3.] One custodial officer remains immediately

 outside the visiting rooms at a desk with a phone. [Filing No. 42 at 3; Filing No. 47 at 3; Filing

 No. 56-1 at 5-6; Filing No. 56-1 at 14.] The doors on the visiting rooms are plexiglass, so the

 officer can see into them. [Filing No. 56-1 at 5-6.] The officer “observes the visit periodically”

 through the plexiglass door. [Filing No. 56-1 at 6.] There is a video camera present in the visiting

 room space and audio monitoring of the conversation through the phone that the inmate and visitor

 use. [Filing No. 42 at 4; Filing No. 47 at 3.] The audio and video feed are monitored offsite and

 also recorded. [Filing No. 56-1 at 6.]

        Until the end of October 2012, CMU inmates who had non-contact social visits were not

 given a visual strip search. [Filing No. 42 at 5; Filing No. 47 at 3.] They were, however, “under




 3
   Plexiglas® is a registered brand name, but the parties generically refer to the clear separator
 between the CMU visitation rooms as “plexiglass.” The Court will defer to the parties’ spelling
 of the term.
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Case 2:14-cv-00142-JMS-DKL Document 80 Filed 08/30/16 Page 6 of 29 PageID #: 708



 constant observation during the visits.” [Filing No. 42 at 5; Filing No. 47 at 3.] Currently, CMU

 inmates who have a non-contact social visit are subject to a visual strip search before the visit.

 [Filing No. 42 at 5; Filing No. 47 at 3.] The inmate is asked to remove his clothing and the officer

 inspects his body, ears, hands, feet, back of his neck, inside of his mouth, and inside of his nose.

 [Filing No. 56-1 at 7.] The inmate also must run his fingers through his hair, bend over, and squat

 so that the officer can look at his anal area. [Filing No. 56-1 at 7.] He also must lift his genitals

 so that area is visible to the officer. [Filing No. 56-1 at 7.] Visual strip searches occur in the

 bathroom next to the room where the inmates are located during the visits. [Filing No. 42 at 5;

 Filing No. 47 at 3.] A correctional officer of the same sex as the inmate conducts the visual strip

 search. [Filing No. 56-1 at 8.] The inmate may not take anything into the visiting room other than

 a comb, a religious medallion, a handkerchief, and a wedding ring. [Filing No. 56-1 at 11.] The

 inmate is instructed to remain seated during the visit. [Filing No. 56-1 at 15.]

        The Warden has identified a few security-related incidents that led to the implementation

 of the visual strip search policy before non-contact visits at the CMU.4 For example, a CMU

 inmate was once able “to conceal a photograph on his person and hold it in such a way that his

 visitors could see it but observing staff could not.” [Filing No. 69-1 at 6.] Another CMU inmate

 “attempted to bring a written message into a legal visit for another inmate [and t]he note was

 discovered in the inmate’s clothes after the inmate had removed them.” [Filing No. 69-6 at 3.]

 Another CMU inmate attempted to take messages out to the recreation cells and was discovered

 to have messages hidden in his underwear that were not discovered during a pat search and did not

 become dislodged from his underwear even when the inmate was jostling around to remove it.


 4
   While Mr. Lindh questions whether any security procedures were utilized before some of these
 incidents occurred, [see, e.g., Filing No. 75 at 6-8], he does not dispute that they happened or led
 to the implementation of the visual strip search policy at issue.
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Case 2:14-cv-00142-JMS-DKL Document 80 Filed 08/30/16 Page 7 of 29 PageID #: 709



 [Filing No. 69-3 at 6-7; Filing No. 69-4 at 2-3.] Another CMU inmate’s visitor once manipulated

 her body to block the view of the inmate’s activity, and it was later discovered upon terminating

 the visit that the visitor had exposed her breasts to the inmate while the inmate exposed his genitals.

 [Filing No. 69-6 at 2.] Finally, the Warden identifies a general concern that an inmate could write

 a message on his body and avoid detection of the message without a visual strip search, but he

 does not detail any instances where that actually happened. [Filing No. 69-1 at 5.]

        B. Mr. Lindh

        Mr. Lindh was convicted of Supplying Services to the Taliban and Carrying an Explosive

 During the Commission of a Felony Which May Be Prosecuted in the United States. [Filing No.

 69-7 at 5.] He is an inmate at the Terre Haute CMU and has been incarcerated there since October

 2007. [Filing No. 42 at 1; Filing No. 47 at 1; Filing No. 56-2 at 1.] Mr. Lindh did not challenge

 his original designation to a CMU and has not challenged the continuation of that designation

 following subsequent reviews. [Filing No. 69-7 at 5.] Mr. Lindh has had non-contact social visits

 at the CMU.5 [Filing No. 56-2 at 2.] He has seen the video camera pointing toward where the

 inmate sits during social visits from the visitor’s side of the plexiglass separator. [Filing No. 56-2


 5
   Mr. Lindh filed an affidavit in support of his summary judgment motion. [Filing No. 56-2.] The
 Warden challenges the admissibility of eight of its thirty paragraphs, arguing that they “contain
 opinions, conjecture, speculation, or beliefs that are otherwise unsupported by admissible
 evidence, [and] are without proper foundation.” [Filing No. 70 at 6.] Other than identifying the
 paragraph numbers of the challenged portions of Mr. Lindh’s affidavit and citing general caselaw,
 the Warden does not meaningfully develop his argument. [Filing No. 70 at 5-6.] The Court
 concludes that the Warden has waived this argument. See Gen. Auto Serv. Station v. City of
 Chicago, 526 F.3d 991, 1006 (7th Cir. 2008) (cursory arguments are waived). Waiver
 notwithstanding, in response to the Warden’s challenge, Mr. Lindh provides a detailed analysis of
 the admissibility of each paragraph. [Filing No. 75 at 2-5.] As Mr. Lindh points out, the portions
 of his affidavit at issue attest to his own experiences in the visitation room at the CMU and other
 facilities, his opinions based on those experiences, and alternatives to the visual strip search that
 he would be willing to accept. [Filing No. 75 at 2-5.] Perhaps tellingly, the Warden ignores Mr.
 Lindh’s detailed response arguments in his reply brief. [Filing No. 78.] For all of these reasons,
 the Court rejects the Warden’s challenge to the admissibility of portions of Mr. Lindh’s affidavit.
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Case 2:14-cv-00142-JMS-DKL Document 80 Filed 08/30/16 Page 8 of 29 PageID #: 710



 at 2.] Mr. Lindh is aware that his conversations over the telephone with any visitor are monitored

 and recorded. [Filing No. 56-2 at 2-3.] The only social visits that Mr. Lindh has had while housed

 at the CMU have been with family members. [Filing No. 56-2 at 1.]

        From the time Mr. Lindh arrived at the CMU until fall 2012, CMU inmates who had social

 visits were given “at most only a pat-down search.” [Filing No. 56-2 at 2.] In fall 2012, a new

 policy was implemented and “CMU prisoners who had social visits were subject to [visual] strip

 searches both before and after all social visits.” [Filing No. 56-2 at 2.] Mr. Lindh noticed that at

 some point that policy changed “so that now we are required to have a strip search before all of

 our social visits, but not after.” [Filing No. 56-2 at 2.] During a visual strip search, Mr. Lindh is

 required to take off his clothes while he is observed by a correctional officer. [Filing No. 56-2 at

 2.] The correctional officer searches his clothes separately from visually searching him. [Filing

 No. 56-2 at 2.]

        Mr. Lindh is a practicing Muslim. [Filing No. 42 at 5; Filing No. 47 at 3; Filing No. 56-2

 at 4.] Pursuant to his religious beliefs, “a male person is prohibited from exposing the area of his

 body between the navel and the knees. This area is called the awrah.” [Filing No. 56-2 at 4.]

 Exceptions to this prohibition exist for showing the awrah to one’s spouse, for medical treatment,

 or for other circumstances of necessity. [Filing No. 56-2 at 4.] Islam “recognizes that if a Muslim

 is compelled by force or some other human behavior to violate certain religious principles and

 requirements then the Muslim person being so forced is absolved of sin because he acts under

 compulsion.” [Filing No. 56-2 at 4.] Mr. Lindh emphasizes, however, that “Islam also teaches

 that if a Muslim can challenge the compulsion he must do so for Islam requires that if somebody

 encounters something that is wrong and the person has the ability to seek to change it he or she

 must do so.” [Filing No. 56-2 at 5.]


                                                  8
Case 2:14-cv-00142-JMS-DKL Document 80 Filed 08/30/16 Page 9 of 29 PageID #: 711



        The Warden presents no evidence that Mr. Lindh has attempted to communicate any

 concealed messages to members of the public while housed in the CMU, either inside or outside

 of a non-contact visit.

        Mr. Lindh filed an administrative grievance regarding the visual strip search policy, but it

 was denied. [Filing No. 42-1.]

        C. Procedural History

        In May 2014, Mr. Lindh filed a Complaint against the Warden in this Court. [Filing No.

 1.] The operative complaint alleges that the Warden’s policy of subjecting Mr. Lindh to visual

 strip searches before non-contact visits violates his rights under RFRA. [Filing No. 42 at 6 (citing

 42 U.S.C. § 2000bb-1).] Mr. Lindh alleges that the Warden’s policy “imposes a substantial burden

 on plaintiff’s religious exercise and neither furthers a compelling governmental interest, nor is it

 the least restrictive alternative to further that interest.” [Filing No. 42 at 6.] Mr. Lindh requests

 permanent injunctive relief enjoining the Warden from conducting visual strip searches of him

 when he has non-contact visits. [Filing No. 42 at 7.]

        Mr. Lindh filed a Motion for Summary Judgment in favor of his claim, [Filing No. 56],

 and the Warden filed a Cross-Motion for Summary Judgment in response, [Filing No. 68]. Those

 motions are now fully briefed and ripe for this Court’s consideration.

                                                 III.
                                             DISCUSSION

        The Court will begin by setting forth the generally applicable law before turning to the

 merits of the parties’ arguments regarding Mr. Lindh’s RFRA claim.




                                                  9
Case 2:14-cv-00142-JMS-DKL Document 80 Filed 08/30/16 Page 10 of 29 PageID #: 712



         A. RFRA6

         Congress enacted RFRA and its sister statute, the Religious Land Use and Institutionalized

  Persons Act (“RLUIPA”), “‘in order to provide very broad protection for religious liberty.’” Holt

  v. Hobbs, 135 S. Ct. 853, 859 (2015) (quoting Burwell v. Hobby Lobby Stores, Inc., 134 S. Ct.

  2751, 2760 (2014)). RFRA applies to the federal government and its agencies. 7 Hobby Lobby,

  134 S. Ct. at 2761. It provides that the “‘[g]overnment shall not substantially burden a person’s

  exercise of religion even if the burden results from a rule of general applicability,’ unless the

  government ‘demonstrates that application of the burden to the person—(1) is in furtherance of a

  compelling governmental interest; and (2) is the least restrictive means of furthering that

  compelling governmental interest.’” Holt, 135 S. Ct. at 860 (quoting 42 U.S.C. §§ 2000bb-1(a),

  (b)). Determining the compelling-interest and least-restrictive-means are questions of law. United

  States v. Friday, 525 F.3d 938, 946 (10th Cir. 2008) (following precedent of all Circuits to consider

  question).

         RFRA was enacted in response to a decision by the United States Supreme Court holding

  that neutral, generally applicable laws that incidentally burden the exercise of religion usually do

  not violate the Free Exercise Clause of the First Amendment. Holt, 135 S. Ct. at 859 (citing


  6
   The Court expresses its disappointment with the Warden’s failure to acknowledge Holt v. Hobbs,
  135 S. Ct. 853 (2015)—the most recent United States Supreme Court case that is directly on point.
  Mr. Lindh cited Holt throughout his opening brief, [Filing No. 57], but the Warden did not cite or
  attempt to distinguish Holt in either of his summary judgment briefs, [Filing No. 68; Filing No.
  78.] Ignoring key precedent is not effective advocacy under any circumstance. The Court expects
  more from the Warden and counsel, both of whom are employed by the United States Department
  of Justice.
  7
    Congress also intended for RFRA to apply to the States, but the Supreme Court later held that
  RFRA exceeded Congress’ power to the extent that it was applicable to the States and their
  subdivisions through Section 5 of the Fourteenth Amendment. Holt, 135 S. Ct. at 860 (citing City
  of Boerne v. Flores, 521 U.S. 507 (1997)). In response, Congress enacted RLUIPA, which “applies
  to the States and their subdivisions and invokes congressional authority under the Spending and
  Commerce Clauses.” Holt, 135 S. Ct. at 860 (citing 42 U.S.C. § 2000cc-1(b)).
                                                   10
Case 2:14-cv-00142-JMS-DKL Document 80 Filed 08/30/16 Page 11 of 29 PageID #: 713



  Employment Div., Dept. of Human Resources of Ore. v. Smith, 494 U.S. 872 (1990)). Specifically,

  “Congress enacted RFRA in order to provide greater protection for religious exercise than is

  available under the First Amendment.” Holt, 135 S. Ct. at 859-60. As the Supreme Court recently

  recognized, “[b]y enacting RFRA, Congress went far beyond what [the Supreme Court] has held

  is constitutionally required.” Hobby Lobby, 134 S. Ct. at 2767. It is “the obligation of the courts

  to consider whether exceptions are required under the test set forth by Congress.” Holt, 135 S. Ct.

  at 864.

            RFRA and RLUIPA “are substantively identical with respect to prisoners’ entitlements.”

  Whitfield v. Illinois Dep’t of Corr., 237 F. App’x 93, 94 (7th Cir. 2007). Both statutes define

  “exercise of religion” to include “any exercise of religion, whether or not compelled by, or central

  to, a system of religious belief.” Hobby Lobby, 134 S. Ct. 2751 (citing 42 U.S.C. § 2000cc-

  5(7)(A)). As the Supreme Court has recognized, “Congress mandated that this concept ‘be

  construed in favor of a broad protection of religious exercise, to the maximum extent permitted by

  the terms of this chapter and the Constitution.’” Hobby Lobby, 134 S. Ct. 2751 (citing 42 U.S.C.

  § 2000cc-3(g)).

            When seeking an accommodation from a prison policy under RFRA, the plaintiff bears the

  initial burden of proving that the defendant’s challenged policy implicates the plaintiff’s religious

  exercise. Holt, 135 S. Ct. at 862. The plaintiff’s request for an accommodation “must be sincerely

  based on a religious belief and not some other motivation.” Id. at 862; see also Hobby Lobby, 134

  S. Ct. 2751 (“[t]o qualify for RFRA’s protection, an asserted belief must be ‘sincere’”).

  Additionally, the plaintiff bears the burden of proving that the challenged policy “substantially

  burden[s] that exercise of religion.” Holt, 135 S. Ct. at 862. He can do so by showing that the




                                                   11
Case 2:14-cv-00142-JMS-DKL Document 80 Filed 08/30/16 Page 12 of 29 PageID #: 714



  challenged policy requires him to “engage in conduct that seriously violates [his] religious beliefs.”

  Id. (citing Hobby Lobby, 134 S. Ct. at 2775).

         If the plaintiff meets his burden of showing that the challenged policy substantially burdens

  his exercise of religion, the burden then shifts to the defendant to show that its refusal to allow him

  an accommodation was in furtherance of a compelling governmental interest and was the least

  restrictive means of furthering that interest. Holt, 135 S. Ct. at 863 (citing 42 U.S.C. § 2000cc-

  1(a)). RFRA contemplates a “‘more focused inquiry’” than just a compelling interest in prison

  safety and security, requiring the defendant “to demonstrate that the compelling interest test is

  satisfied through application of the challenged law ‘to the person’—the particular claimant whose

  sincere exercise of religion is being substantially burdened.” Holt, 135 S. Ct. 863 (quoting Hobby

  Lobby, 134 S. Ct. at 2779). Put another way, it requires the Court to “‘scrutiniz[e] the asserted

  harm of granting specific exemptions to particular religious claimants’” and “‘to look to the

  marginal interest in enforcing’” the challenged government action in that particular context. Holt,

  135 S. Ct. 863 (quoting Hobby Lobby, 134 S. Ct. at 2779).

         The Court is not “bound to defer” to a defendant’s assertion regarding what would

  undermine its compelling interest because RFRA “does not permit such unquestioning deference.”

  Holt, 135 S. Ct. at 863-64. Instead, the “test requires the [defendant] not merely to explain why it

  denied the exemption but to prove that denying the exemption is the least restrictive means of

  furthering a compelling governmental interest.” Id. “‘The least-restrictive-means standard is

  exceptionally demanding,’ and it requires the government to ‘sho[w] that it lacks other means of

  achieving its desired goal without imposing a substantial burden on the exercise of religion by the

  objecting part[y].’” Id. (quoting Hobby Lobby, 134 S. Ct. at 2780). “‘[I]f a less restrictive means

  is available for the Government to achieve its goals, the Government must use it.’” Holt, 135 S.


                                                    12
Case 2:14-cv-00142-JMS-DKL Document 80 Filed 08/30/16 Page 13 of 29 PageID #: 715



  Ct. at 853 (quoting Hobby Lobby, 134 S. Ct. at 2780). While cost “may be an important factor in

  the least-restrictive-means analysis,” RFRA “may in some circumstances require the Government

  to expend additional funds to accommodate citizens’ religious beliefs.” Hobby Lobby, 134 S. Ct.

  at 2781.

         B. Mr. Lindh’s RFRA Claim

         In his motion for summary judgment, Mr. Lindh argues that requiring him to completely

  undress to be visually searched as a condition of having a non-contact visit substantially burdens

  his religious exercise because it requires him to expose the area of his body called the awrah.

  [Filing No. 57 at 13-14.] Mr. Lindh contends that the Warden cannot sustain his burden of showing

  that the policy is justified by a compelling governmental interest and, even if he can, the visual

  strip search requirement is not the least restrictive means of advancing that interest as applied to

  Mr. Lindh. [Filing No. 57 at 15-19.] Thus, Mr. Lindh asks this Court to enter summary judgment

  in his favor on his RFRA claim and to enjoin the Warden from enforcing the policy at issue as

  applied to him. [Filing No. 57 at 21.]

         In response, the Warden opposes Mr. Lindh’s motion and asks the Court to enter summary

  judgment in his favor on Mr. Lindh’s RFRA claim. [Filing No. 70.] The Warden does not contest

  that Mr. Lindh has a sincerely held religious belief that he should not expose the portion of his

  body constituting the awrah or that the visual strip search policy before a non-contact visit requires

  him to do so. [Filing No. 70 at 8.] The Warden instead argues that Mr. Lindh’s religious exercise

  is not substantially burdened because Mr. Lindh admits that his religion absolves him of the sin

  associated with exposing the awrah if such exposure is necessary. [Filing No. 70 at 8-9.]

  Additionally, the Warden maintains that even if the policy is a substantial burden, that burden is

  justified by the Warden’s compelling interest of safety and security. [Filing No. 70 at 10-17.] The


                                                   13
Case 2:14-cv-00142-JMS-DKL Document 80 Filed 08/30/16 Page 14 of 29 PageID #: 716



  Warden emphasizes the communications monitoring purpose of the CMU, pointing out that Mr.

  Lindh never has challenged his designation to the CMU. [Filing No. 70 at 11-14.] The Warden

  concludes that the no-exception visual strip search policy is the least restrictive means of

  accomplishing the compelling governmental interest at issue because it is the only security

  measure that could detect messages written on an inmate’s body. [Filing No. 70 at 18-19.] The

  Warden details various incidents that it claims support that conclusion and rejects the adequacy of

  Mr. Lindh’s proposed alternatives. [Filing No. 70 at 19-26.]

         In reply in support of his motion and in response to the Warden’s motion, Mr. Lindh argues

  that there are no material facts in dispute and emphasizes that whether a policy constitutes the least

  restrictive means is a legal conclusion for the Court. [Filing No. 75 at 7-8.] Mr. Lindh contends

  that the Warden’s visual strip search policy imposes a substantial burden on his religious beliefs

  because it requires him to engage in conduct that seriously violates those beliefs, and to conclude

  otherwise would “eviscerate the protections of RFRA.” [Filing No. 75 at 9-10.] Mr. Lindh argues

  that the Warden has not established that the visual strip search policy is supported by a compelling

  governmental interest, claiming that the cited examples are insufficient to meet the Warden’s

  burden regarding the compelling interest. [Filing No. 75 at 11.] Mr. Lindh emphasizes that he is

  not challenging the visual strip search policy on its face and that the Warden does not tailor his

  arguments to Mr. Lindh and his request, as required by RFRA. [Filing No. 75 at 11-12.] Mr.

  Lindh concludes that the Warden has not met his burden to show that the visual strip search policy

  is the least restrictive means of achieving any compelling governmental interest, emphasizing that

  the Warden never considered alternatives for Mr. Lindh. [Filing No. 75 at 14-16.]

         In his reply brief supporting his summary judgment request, the Warden challenges Mr.

  Lindh’s assertion that visually strip searching inmates before a non-contact visit does not respond


                                                   14
Case 2:14-cv-00142-JMS-DKL Document 80 Filed 08/30/16 Page 15 of 29 PageID #: 717



  to a problem in need of solving, again emphasizing incidents he contends support the policy.

  [Filing No. 78 at 1-2.] The Warden claims that Mr. Lindh’s proposed alternatives are not workable

  and could present an increased risk to Mr. Lindh’s safety and welfare. [Filing No. 78 at 2-3.] The

  Warden also points out that Mr. Lindh has not put forth any evidence that the Warden possesses

  restraints designed to safely bind him to a chair and, if it does, Mr. Lindh would then not be able

  to use the telephone required for the non-contact visit. [Filing No. 78 at 3-4.] The Warden also

  points out that Mr. Lindh’s safety could be compromised if he is chained to a chair and a fire or

  other disaster occurred. [Filing No. 78 at 4.] For these reasons, the Warden concludes that the

  visual strip search policy before non-contact visits is the least restrictive means of furthering the

  compelling government interest at issue. [Filing No. 78 at 4.]

         Because the Warden attached new evidence to his reply brief, Mr. Lindh filed a surreply

  brief. [Filing No. 79 at 1.] Mr. Lindh points out that the Warden “now appears to concede that

  his interest is not simply in preventing illegal non-auditory communications but in preventing

  illegal non-auditory communications that are not detected by prison staff—for an inmate

  unconcerned about detection may simply convey messages to visitors orally.” [Filing No. 79 at 2

  (original emphasis).] Mr. Lindh again emphasizes that he is only challenging the visual strip

  search policy as applied to him before a non-contact visit, arguing that the Warden has not shown

  that Mr. Lindh is likely to attempt to convey illegal messages to social visitors through writing on

  the area of his body covered by his shorts. [Filing No. 79 at 2.] Finally, Mr. Lindh reminds the

  Warden that it is his burden to show that less restrictive means are not available, contending that

  to the extent the Warden attempts to do so, he has fallen short. [Filing No. 79 at 4-5.]




                                                   15
Case 2:14-cv-00142-JMS-DKL Document 80 Filed 08/30/16 Page 16 of 29 PageID #: 718



                  1) Mr. Lindh’s Burden

          It is Mr. Lindh’s burden to show that the Warden’s policy of visually strip searching him

  before a non-contact visit substantially burdens his exercise of religion under RFRA.8 See Holt,

  135 S. Ct. at 862. In support of his position that Mr. Lindh has not shown a substantial burden,

  the Warden emphasizes an admission in Mr. Lindh’s affidavit that his religion absolves him of sin

  if he acts under compulsion or other circumstances of necessity. [Filing No. 70 at 8-9 (citing Filing

  No. 56-2 at 4).] The Warden claims that because the visual strip search policy at issue “is imposed

  upon [Mr. Lindh] by the prison rules, there is no condemnation on [Mr. Lindh] and, while it

  frustrates his religious belief, it is not a substantial burden on his religious exercise.” [Filing No.

  70 at 9.]

          The United States Supreme Court rejected a similar argument in Holt. In that case, a

  Muslim inmate sought to grow a ½-inch beard in accordance with his religious beliefs, but growing

  a beard would violate the prison’s no-beard policy. Holt, 135 S. Ct. at 859. The Supreme Court—

  which ultimately entered judgment in favor of the inmate on his RLUIPA claim—found that the

  inmate had “easily satisfied” his obligation to show that the grooming policy substantially

  burdened his exercise of religion, despite the defendant suggesting that any burden was slight

  “because, according to [the inmate’s] testimony, his religion would ‘credit’ him for attempting to

  follow his religious beliefs, even if that attempt proved unsuccessful.” Id. at 862. The Supreme

  Court rejected that argument, holding that because the policy made the inmate choose between

  following it or following his religion, “it substantially burdens his religious exercise.” Id.; see also

  Hobby Lobby, 134 S. Ct. at 2779 (emphasizing that it is not for the Court to determine whether a


  8
    It is also Mr. Lindh’s burden to show that his request for an accommodation is based on a
  sincerely held religious belief, Holt, 135 S. Ct. at 862, but the Warden does not dispute that point,
  [Filing No. 70 at 8].
                                                    16
Case 2:14-cv-00142-JMS-DKL Document 80 Filed 08/30/16 Page 17 of 29 PageID #: 719



  plaintiff has properly concluded that the challenged regulation “lies on the forbidden side of the

  line” or to “say that their religious beliefs are mistaken or insubstantial[; i]nstead, our narrow

  function in this context is to determine whether the line drawn reflects an honest conviction”)

  (citation omitted).

         The Warden’s policy forces Mr. Lindh to choose between undergoing a visual strip search

  so that he can engage in a non-contact visit—which the Warden does not dispute violates Mr.

  Lindh’s sincerely held religious beliefs—or refusing the visual strip search and foregoing the non-

  contact visit. Making him choose between these options substantially burdens his religious

  exercise. The Court agrees with Mr. Lindh that reaching the opposite conclusion under these

  circumstances would make RFRA’s protections illusory. [Filing No. 75 at 10.] Concluding that

  a defendant could show that a policy did not substantially burden a plaintiff’s religious exercise

  because his religion absolved him of sin incurred out of necessity or compulsion would be at odds

  with the “very broad protection for religious liberty” that Congress sought to provide by enacting

  RFRA. Hobby Lobby, 134 S. Ct. at 2760. Thus, the Court concludes that it beyond dispute that

  Mr. Lindh has met his burden to show that the Warden’s visual strip search policy imposes a

  substantial burden on his religious exercise.

                 2) The Warden’s Burden

         The burden now shifts to the Warden to show that his refusal to allow Mr. Lindh an

  accommodation was in furtherance of a compelling governmental interest and was the least

  restrictive means of furthering that compelling governmental interest. Holt, 135 S. Ct. at 853; see

  also Schlemm v. Wall, 784 F.3d 362, 365 (7th Cir. 2015) (“The Court stressed in Holt that the

  prison system has the burdens of production and persuasion on the compelling-interest and least-

  restrictive-means defenses.”).


                                                  17
Case 2:14-cv-00142-JMS-DKL Document 80 Filed 08/30/16 Page 18 of 29 PageID #: 720



                         a. Compelling Governmental Interest 9

         The parties dispute whether the visual strip search policy is in furtherance of a compelling

  governmental interest. The Warden claims that it furthers a compelling governmental interest in

  safety and security because the visual strip search policy completely prevents inmates from

  conveying messages during non-contact visits. [Filing No. 70 at 10-17.] The Warden emphasizes

  the communications monitoring mission of the CMU and the deference he believes the Court

  should give him to determine the appropriate security protocol. [Filing No. 70 at 11-17.] In

  response, Mr. Lindh “concedes that the need to provide for security in the prison setting is a

  compelling interest.” [Filing No. 75 at 10.] But he opposes the Warden’s legal conclusion that

  the visual strip search policy furthers a compelling governmental interest by arguing that the

  standard “demands more than an abstract articulation of interest.” [Filing No. 75 at 11.] He also

  emphasizes that the Warden fails to demonstrate how the compelling-interest test is satisfied

  through application of the challenged policy with regard to Mr. Lindh. [Filing No. 75 at 11-12.]

         The Supreme Court’s decision in Holt guides the Court’s analysis of the parties’

  compelling-interest arguments. The defendant in Holt also identified the prison’s interest in safety

  and security as its compelling governmental interest for not allowing the Muslim inmate in that

  case to grown a ½-inch beard. 135 S. Ct. at 863. While the Supreme Court “readily agree[d]” that

  the prison had a compelling interest in stopping the flow of contraband within its facilities, it found

  the defendant’s argument that this interest would be compromised by allowing an inmate to grow

  a ½-inch beard “hard to take seriously” because the challenged policy did not further the interest

  at issue. Id. at 863; see also 42 U.S.C. § 2000cc-1(a) (defendant’s burden to show that policy is


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    Some of the parties’ arguments regarding the compelling-interest and least-restrictive-means
  analyses overlap. The Court will address the parties’ arguments in the section it deems most
  applicable.
                                               18
Case 2:14-cv-00142-JMS-DKL Document 80 Filed 08/30/16 Page 19 of 29 PageID #: 721



  “in furtherance of a compelling governmental interest”) (emphasis added). The Supreme Court

  emphasized that RFRA “does not permit such unquestioning deference” to the defendant’s

  “assertion that allowing petitioner to grow such a beard would undermine its interest in suppressing

  contraband.” Holt, 135 S. Ct. at 864. Instead, RFRA “makes clear that it is the obligation of the

  courts to consider whether exceptions are required under the test set forth by Congress.” Id. (citing

  Gonzales v. O Centro Espírita Beneficente Uniõ do Vegetal, 546 U.S. 418, 434 (2006)). The

  Supreme Court concluded that “without a degree of deference that is tantamount to unquestioning

  acceptance, it is hard to swallow the argument that denying petitioner a ½-inch beard actually

  furthers the Department’s interest in rooting out contraband.” Holt, 135 S. Ct. at 864. The

  Supreme Court also pointed out that the compelling interest test “contemplates a ‘more focused’

  inquiry and ‘requires the Government to demonstrate that the compelling interest test is satisfied

  through application of the challenged law ‘to the person’—the particular claimant whose sincere

  exercise of religion is being substantially burdened.’” Id. at 863 (quoting Hobby Lobby, 134 S.

  Ct. at 2779).

         Mr. Lindh does not dispute the Warden’s contention that safety and security constitute a

  compelling governmental interest. [Filing No. 75 at 10 (“Mr. Lindh, of course, concedes that the

  need to provide for security in the prison setting is a compelling interest.”).] But that alone does

  not satisfy the Warden’s burden with regard to the compelling-interest test. As Holt teaches, the

  Warden must also show that the challenged policy “actually furthers” the compelling

  governmental interest at issue. 135 S. Ct. at 863-64. While the Court gives some deference to the

  Warden’s expertise and experience running a prison, RFRA demands that the Court not blindly

  accept the Warden’s conclusions regarding what measures are necessary to actually further the

  identified compelling interest. Id. at 864.


                                                   19
Case 2:14-cv-00142-JMS-DKL Document 80 Filed 08/30/16 Page 20 of 29 PageID #: 722



         This case is a closer call than Holt with regard to whether the challenged policy “actually

  furthers” the identified compelling governmental interest.         After considering the parties’

  arguments, the Court agrees with the Warden that a visual strip search before a non-contact visit

  does actually further the identified compelling interest, particularly because of the communications

  management mission of the CMU. 10 See 28 C.F.R. § 540.200(c) (“The purpose of CMUs is to

  provide an inmate housing unit environment that enables staff to more effectively monitor

  communication between inmates in CMUs and persons in the community. . . . The ability to

  monitor such communication is necessary to ensure the safety, security, and orderly operation of

  correctional facilities, and protection of the public.”). As the Warden points out, without a visual

  strip search, an inmate could write a message directly on his body and then quickly show it to a

  visitor during the visit. [Filing No. 69-1 at 6.]       Additionally, according to the Warden,

  “[c]ontraband, including written messages on paper, are often hidden in clothing and underwear

  to avoid discovery by pat searches” and these items can be “positioned so that even jostling of the

  inmate and his clothes do not dislodge the hidden messages.” 11 [Filing No. 69-3 at 6.] Finally, as

  the Warden emphasizes, the visual strip search policy is aimed at preventing the disclosure of

  hidden messages by identifying them before such disclosure, while the other security measures

  such as video recording, audio recording, and the guard stationed outside the visiting room “merely


  10Given the unique communications monitoring purpose of the CMU, the Court does not find Mr.
  Lindh’s arguments regarding the lack of visual strip searches before non-contact visits at non-
  CMU facilities persuasive. [See, e.g., Filing No. 75 at 11.]
  11
    For example, the Warden attests to an incident shortly before the visual strip search policy was
  implemented where a CMU inmate “was able to conceal a photograph on his person and hold it in
  such a way that his visitors could see it but observing staff could not.” [Filing No. 69-1 at 6.] As
  Mr. Lindh points out, it is unclear whether that inmate underwent any sort of search before that
  visit, given that the Warden does not dispute that before the current visual strip search policy,
  “CMU prisoners were subjected to at most a pat-down search prior to visits and sometimes that
  did not even occur.” [Filing No. 75 at 6 (citing Filing No. 56-2 at 2).] There is also no evidence
  that the photograph depicted sensitive information that presented a security risk.
                                                    20
Case 2:14-cv-00142-JMS-DKL Document 80 Filed 08/30/16 Page 21 of 29 PageID #: 723



  document breaches which have already occurred.” [Filing No. 69-3 at 6.] For these reasons,

  particularly in light of the communications monitoring mission of the CMU, the Court concludes

  that the Warden has identified a compelling governmental interest that the visual strip search

  policy at issue actually furthers—namely, the interest in preventing the disclosure of hidden

  messages from CMU inmates to members of the public during a non-contact social visit.

         This is not the end of the compelling-interest inquiry, however. As Mr. Lindh points out,

  [Filing No. 75 at 11-12], the Warden fails to cite any evidence demonstrating that the compelling-

  interest test is satisfied through application of the challenged policy to Mr. Lindh as “the particular

  claimant whose sincere exercise of religion is being substantially burdened,” see Holt, 135 S. Ct.

  at 863 (holding that the compelling interest test “contemplates a ‘more focused’ inquiry and

  ‘requires the Government to demonstrate that the compelling interest test is satisfied through

  application of the challenged law ‘to the person’—the particular claimant whose sincere exercise

  of religion is being substantially burdened’”) (quoting Hobby Lobby, 134 S. Ct. at 2779). The

  Warden does not dispute that the only non-contact social visits Mr. Lindh has had while housed in

  the CMU have been with his family. [Filing No. 56-2 at 1; Filing No. 70 at 13.] The Warden also

  does not provide any evidence that Mr. Lindh has violated or attempted to violate any

  communications-related policies while housed in the CMU or during a non-contact social visit or

  that Mr. Lindh’s family members present any type of security risk.

         The Warden’s only argument with regard to Mr. Lindh is that “[t]o allow the Plaintiff to

  be the only inmate exempted from a visual strip search prior to a visit would pose a serious threat

  to the inmate, as well as the safe, secure orderly running of the institution and the public at large.”

  [Filing No. 70 at 12.] Given that only one non-contact social visit can occur at a time, it is possible

  that the other CMU inmates would not be aware of Mr. Lindh’s exemption from the visual strip


                                                    21
Case 2:14-cv-00142-JMS-DKL Document 80 Filed 08/30/16 Page 22 of 29 PageID #: 724



  search requirement before such visits. Even if they did find out, however, Mr. Lindh’s exception

  would be less obvious than the visible beard the inmate in Holt was allowed to grow, and the

  Supreme Court rejected a similar exception argument in that case. See Holt, 135 S. Ct. at 866 (“At

  bottom, this argument is but another formulation of the classic rejoinder of bureaucrats throughout

  history: If I make an exception for you, I’ll have to make one for everybody, so no exceptions.

  We have rejected a similar argument in analogous contexts, and we reject it again today.”)

  (citations omitted). Moreover, as Mr. Lindh points out, he is willing to undergo substitute security

  measures instead of the visual strip search, such as removing all of his clothing so it can be

  searched except for his underwear shorts, being chained to a chair, and being handcuffed during

  the non-contact visit. [Filing No. 75 at 13.] The Warden has cited no caselaw supporting his

  apparent position that Mr. Lindh’s sincerely held religious beliefs—which RFRA broadly seeks to

  protect—can be dismissed simply because the Warden does not want to make him an exception to

  a generally applicable rule.

         For these reasons, the Court concludes that although the Warden has identified a

  compelling governmental interest that is actually furthered by the challenged policy, he has failed

  to meet his burden to demonstrating that the compelling-interest test is satisfied through

  application of the challenged policy as to Mr. Lindh. Holt, 135 S. Ct. at 863. Accordingly, the

  Court must enter summary judgment in favor of Mr. Lindh on his RFRA claim.

                 b. Least Restrictive Means

         Even if the Warden had met his burden pursuant to the compelling-interest test, he would

  then face the “‘exceptionally demanding’” least-restrictive-means standard. Holt, 135 S. Ct. at

  864 (quoting Hobby Lobby, 134 S. Ct. at 2780). This standard “requires the government to ‘sho[w]

  that it lacks other means of achieving its desired goal without imposing a substantial burden on the


                                                  22
Case 2:14-cv-00142-JMS-DKL Document 80 Filed 08/30/16 Page 23 of 29 PageID #: 725



  exercise of religion by the objecting part[y]. [I]f a less restrictive means is available for the

  Government to achieve its goals, the Government must use it.’” Holt, 135 S. Ct. at 864 (quoting

  Hobby Lobby, 134 S. Ct. at 2780) (citation omitted).

         Mr. Lindh concedes that “he can be required to remove all his clothing, with the exception

  of his shorts,” before a non-contact social visit. [Filing No. 75 at 6.] Moreover, Mr. Lindh “is not

  proposing that nothing replace the strip search to address the Warden’s security concerns.” [Filing

  No. 75 at 13.] Although Mr. Lindh would prefer to go to the non-contact visits “with only a pat-

  down search,” he is willing to accept other restrictions in lieu of a visual strip search, including

  either being “placed in hand and/or leg restrains during the visits” or removing his clothing “down

  to his BOP-purchased shorts, covering the area between [his] navel and knee” and, if necessary,

  jumping up and down while in the shorts to demonstrate that he is not hiding anything in the area

  covered by the shorts. [Filing No. 56-2 at 5.]

         The Warden did not consider or propose any alternatives to the visual strip search from

  which Mr. Lindh requests to be exempted. 12 [Filing No. 56-2 at 5.] While the Warden argues that

  Mr. Lindh’s proffered alternatives are insufficient, the Supreme Court has held that “[c]ourts must

  hold prisons to their statutory burden, and they must not assume that plausible, less restrictive

  alternatives would be ineffective.” Holt, 135 S. Ct. at 866 (citation omitted); see also Schlemm,


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     The Warden says that despite Mr. Lindh’s assertion that the Warden “did not consider any
  alternatives to the implementation of the visual search[, Mr. Lindh] produces no evidence to
  support such blatant speculation on his part.” [Filing No. 70 at 18.] The Court reminds the Warden
  that he bears the burden at this stage to show that the challenged policy is the least restrictive
  means of serving the compelling government interest at issue. Holt, 135 S. Ct. at 863 (citing 42
  U.S.C. § 2000cc-1(a)). Summary judgment “is the put up or shut up moment in a lawsuit, when a
  party must show what evidence it has that would convince a trier of fact to accept its version of
  events.” Johnson, 325 F.3d at 901. Because the Warden has produced no evidence that he
  considered other alternatives to Mr. Lindh’s request to be exempt from visual strip searches before
  non-contact social visits, the Court considers it to be an undisputed fact that no alternatives were
  considered.
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Case 2:14-cv-00142-JMS-DKL Document 80 Filed 08/30/16 Page 24 of 29 PageID #: 726



  784 F.3d at 365 (the Act “requires the [prison] not merely to explain why it denied the exemption

  but to prove that denying the exemption is the least restrictive means of furthering a compelling

  governmental interest”).

         After reviewing the parties’ arguments and the admissible evidence, the Court concludes

  that the Warden has not met his burden to prove that denying Mr. Lindh an exemption from the

  visual strip search policy before a non-contact visit is the least restrictive means of furthering the

  compelling governmental interest at issue. As previously described, during a non-contact visit, an

  inmate remains in a different room from his visitors, physically separated by plexiglass, recorded

  by video, speaking over a telephone that is audio monitored and recorded, and with a correctional

  officer directly outside the room and able to monitor the inmate through the plexiglass door to the

  visiting room. Although the Warden admits that a visual strip search before a non-contact visit

  might be one of the CMU’s “redundant security measures,” it contends that it is the least restrictive

  means to ensure total monitoring of inmate communications during those visits. [Filing No. 69-1

  at 5.] The Warden also focuses on the “human element” of the monitoring, “meaning that it is

  impossible to expect that observing officers are never going to look away for a moment during a

  visit.” [Filing No. 69-1 at 5.]

         Abiding by the Supreme Court’s directive in Holt that this Court must not simply assume

  that a plausible, less restrictive alternative would be ineffective, the Court finds that the Warden




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Case 2:14-cv-00142-JMS-DKL Document 80 Filed 08/30/16 Page 25 of 29 PageID #: 727



  has failed to meet his burden on this point. 13 As Mr. Lindh suggests, one alternative could be for

  him to remove all clothing except for the underwear shorts that cover his awrah. A correctional

  officer could then search Mr. Lindh’s clothes, and Mr. Lindh could squat and jump up and down

  in the shorts to show that he is not hiding concealed paper messages or photographs. Although the

  Warden contends that this process still may not reveal all concealed communications—such as a

  message written on Mr. Lindh’s body under his shorts—the Warden fails to account for the inmate

  uniform that Mr. Lindh would be wearing during the visit and the difficulty he would have

  revealing a concealed message without detection, especially if additional security measures such

  as handcuffs and/or leg irons were used to restrict his movement during the visit. The Warden’s

  argument also ignores that revealing a message written on his awrah would require Mr. Lindh to

  violate his sincerely held religious beliefs, which the Warden has not challenged in this case.

         The Warden summarily rejects the effectiveness of handcuffs by pointing out that they

  would make it difficult or impossible for Mr. Lindh to talk to his visitors on the phone, but the

  Warden ignores feasible alternatives such as a hands-free headset, which RFRA could require the

  Warden to obtain. See Hobby Lobby, 134 S. Ct. at 2781 (RFRA “may in some circumstances

  require the Government to expend additional funds to accommodate citizens’ religious beliefs”);

  see also Schlemm, 784 F.3d at 365 (“Saving a few dollars is not a compelling interest, nor is a


  13
     Mr. Lindh cites non-binding authority that he is entitled to summary judgment because the
  evidence is undisputed that the Warden “has failed in his obligation to demonstrate that ‘it has
  actually considered and rejected the efficacy of less restrictive measures before adopting the
  challenged practice.’” [Filing No. 75 at 14 (quoting Warsoldier v. Woodford, 418 F.3d 989, 999
  (9th Cir. 2005)).] Because a concurring opinion in Holt suggests otherwise, the Court will not
  grant Mr. Lindh summary judgment on that basis. Holt, 135 S. Ct. at 868 (Sotomayor, J.) (“nothing
  in the Court’s opinion suggests that prison officials must refute every conceivable opinion to
  satisfy RLUIPA’s least restrictive means requirement. Nor does it intimate that officials must
  prove that they considered less restrictive alternatives at a particular point in time. Instead, the
  Court correctly notes that the Department inadequately responded to the less restrictive policies
  that petitioner brought to the Department’s attention during the course of the litigation . . . .”).
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Case 2:14-cv-00142-JMS-DKL Document 80 Filed 08/30/16 Page 26 of 29 PageID #: 728



  bureaucratic desire to follow the prison system’s rules. The Act requires prisons to change their

  rules to accommodate religious practices; rules’ existence is not a compelling obstacle to

  change.”). The Warden also ignores other feasible alternatives to achieve his desired goal of total

  communication monitoring, such as requiring a correctional officer to stand immediately outside

  the door to the visiting room during Mr. Lindh’s non-contact visits so that his movements are

  visible at all times or installing additional security cameras to eliminate any possible blind spots

  in coverage monitoring. To the extent that the Warden relies on possible security breaches related

  to the “human element” of monitoring, [Filing No. 69-1 at 5], he cites no authority supporting his

  apparent position that violations of Mr. Lindh’s religious rights can be excused if the Warden’s

  staff does not adequately perform their job responsibilities.

         The Warden’s arguments in support of visual strip searches being the least restrictive

  means exclusively focus on limited examples of possible subterfuge by inmates other than Mr.

  Lindh. It is undisputed, however, that some of these inmates were not housed at the CMU and

  some of the incidents were unrelated to non-contact social visits. [See, e.g., Filing No. 69-1 at 5-

  7.] While the examples cited by the Warden give the Court context for what inmates have

  attempted to do to thwart monitoring, the “exceptionally demanding” least-restrictive-means

  standard requires the Warden to focus on the application of challenged policy to Mr. Lindh—the

  person whose sincere exercise of religion is being substantially burdened. Holt, 135 S. Ct. at 863;

  Hobby Lobby, 134 S. Ct. at 2780. Mr. Lindh has been housed at the CMU since 2007 and has only

  had non-contact social visits with his family. The Warden cites no evidence that Mr. Lindh has

  violated or attempted to violate any communications-related policies either during or outside of

  his non-contact visits in the nine years he has been housed at the CMU or that Mr. Lindh’s family

  members present any type of security risk.


                                                   26
Case 2:14-cv-00142-JMS-DKL Document 80 Filed 08/30/16 Page 27 of 29 PageID #: 729



         There is no question that Supreme Court precedent requires this Court to find in favor of

  Mr. Lindh on his RFRA claim because the Warden has not met his burden to show that the

  challenged policy is the least restrictive means of achieving his desired goal without imposing a

  substantial burden on Mr. Lindh’s exercise of religion. Accordingly, the Court grants summary

  judgment in favor of Mr. Lindh on his RFRA claim.

         C. Effect of the Court’s Decision

         A few additional words are necessary to put the limited effect of the Court’s decision into

  context. First, it is again worth emphasizing that Congress passed RFRA and RLUIPA in response

  to United States Supreme Court decisions that Congress believed “may burden religious exercise.”

  Hobby Lobby, 134 S. Ct. at 2761. Congress designed those statutes “to provide very broad

  protection for religious liberty . . . [and they go] far beyond what [the Supreme Court] has held is

  constitutionally required.” Id. at 2767. As recent Supreme Court decisions confirm, these statutes

  protect plaintiffs pursuing valid religious liberty claims regardless of what religion they practice.

  See Hobby Lobby, 134 S. Ct. at 2751 (finding in favor of for-profit closely-held corporations with

  Christian owners that pursued a RFRA claim about the contraceptive mandate in the Affordable

  Care Act); see also Holt, 135 S. Ct. 853 (finding in favor of a Muslim inmate on his RLUIPA

  claim with regard to the prison’s no-beard policy). Ultimately, it is the Court’s responsibility to

  enforce the statutes as written and under the standards prescribed, Hobby Lobby, 134 S. Ct. at

  2785, while not abdicating the responsibility conferred to it by Congress to apply the statutes’

  rigorous standards, Holt, 135 S. Ct. at 864.

         Second, it is important to recognize that Mr. Lindh makes an as-applied challenge to the

  Warden’s policy of visually strip searching him before non-contact social visits. [Filing No. 75 at

  11 (“[N]owhere does the Warden focus on the policy and Mr. Lindh. After all, Mr. Lindh is not


                                                   27
Case 2:14-cv-00142-JMS-DKL Document 80 Filed 08/30/16 Page 28 of 29 PageID #: 730



  challenging the policy on its face. He is simply seeking to modify the policy as applied to him

  because of his legitimate religious beliefs.”).] By finding in favor of Mr. Lindh on his RFRA

  claim, the Court has not found the Warden’s visual strip search policy to be invalid with regard to

  any inmate other than Mr. Lindh. Instead, after applying the rigorous RFRA standards, the Court

  has found that the Warden has not met his burden to justify continued visual strip searches of Mr.

  Lindh before non-contact social visits. This holding does not mean that Mr. Lindh cannot be

  required to undergo other additional security measures that do not violate his sincerely held

  religious beliefs, and Mr. Lindh acknowledges as much. [Filing No. 56-2 at 5; Filing No. 75 at 6.]

         Third, while it is possible that other CMU inmates could file their own RFRA claims

  regarding the visual strip search policy at issue, if the Warden “suspects that an inmate is using

  religious activity to cloak illicit conduct, prison officials may appropriately question whether a

  prisoner’s religiosity, asserted as the basis for a requested accommodation, is authentic.” Holt,

  135 S. Ct. at 866-67. Moreover, the Warden may be entitled to withdraw any accommodations

  made to any inmate—including Mr. Lindh—if that inmate “abuses the exemption in a manner that

  undermines the prison’s compelling interests.” Id. at 867.

         With these considerations in mind, the Court grants summary judgment to Mr. Lindh on

  his RFRA claim.

                                               IV.
                                            CONCLUSION

         For the reasons stated herein, the Court GRANTS IN PART and DENIES IN PART both

  parties’ motions for summary judgment. [Filing No. 56; Filing No. 68.] Specifically, the Court

  grants summary judgment in favor of Mr. Lindh and against the Warden on Mr. Lindh’s RFRA

  claim and grants summary judgment in favor of the Warden and against Mr. Lindh on Mr. Lindh’s

  Fourth Amendment claim. Mr. Lindh seeks permanent injunctive relief for prevailing on his
                                                  28
Case 2:14-cv-00142-JMS-DKL Document 80 Filed 08/30/16 Page 29 of 29 PageID #: 731



  RFRA claim, and the Warden does not deny that such relief is appropriate if the Court enters

  judgment in favor of Mr. Lindh on that claim. The Court will issue a permanent injunction and

  final judgment enjoining the Warden from conducting a visual strip search of Mr. Lindh before a

  non-contact social visit at the CMU. If at some point the Warden believes that the circumstances

  leading to this injunction have materially changed such that an accommodation for Mr. Lindh is

  no longer necessary, the Warden may petition the Court for a modification.




                Date: 8/30/2016                         _______________________________

                                                           Hon. Jane Magnus-Stinson, Judge
                                                           United States District Court
                                                           Southern District of Indiana


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                                                29
